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UNITED STATES DISTRICT COURT                                        t L ECTRONICALL Y FILED
SOUTHERN DISTRICT OF NEW YORK                                       DOC#:
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UNITED STATES OF AMERICA

                 -v-                                                                 ORDER

JOSEPH IORHEMBA ASAN, JR.,                                                   20 CR 86 (KMW)

                                    Defendant.

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KIMBA M. WOOD, District Judge:

        The conference scheduled for November 9, 2020, is adjourned to November 23 , 2020, at

12:00 p.m. , as a control date.

        Counsel for the defendant has requested an adjournment of the next pre-trial conference

scheduled for November 9, 2020, because the parties are in discussion about a possible

disposition short of trial.

        The Court excludes the time from today until November 23 , 2020, from the running of

the Speedy Trial Act clock pursuant to Title 18 U.S.C. § 3161 (h)(7)(A). The Court finds that the

granting of such a continuance best serves the ends of justice and outweighs the best interest of

the public and the defendant in a speedy trial because the parties need this additional time to
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discuss a disposition of this case short of trial.


Dated: New York, New York
       November 5, 2020



                                                               KIMBA M. WOOD
                                                    UNITED STATES DISTRICT JUDGE
